Case 1:14-ml-02570-RLY-TAB Document 22553-1 Filed 08/18/22 Page 1 of 6 PageID #:
                                  132919



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 __________________________________________
 IN RE: COOK MEDICAL, INC. IVC FILTERS
 MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTSLIABILITY LITIGATION                                    MDL No. 2570
 __________________________________________

 This Document Relates to Plaintiff: Paul B. Cornett
 Civil Case # 1:16-cv-2123


                       SHORT FORM COMPLAINT-FIRST AMENDED


        COMES NOW the Plaintiff named below, and for Complaint against the Defendants

 named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document 213).

 Plaintiff(s) further show the court as follows:

    1. Plaintiff’s/Deceased Party’s Name: Paul B. Cornett

    2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium
       claim:

        NA

    3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

        NA

    4. Plaintiff’s/Deceased Party’s state of residence at the time of implant:

        Indiana



    5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

        Indiana

    6. Plaintiff’s/Deceased Party’s current state of residence:

        Indiana
Case 1:14-ml-02570-RLY-TAB Document 22553-1 Filed 08/18/22 Page 2 of 6 PageID #:
                                  132920




    7. District Court and Division in which venue would be proper absent direct filing:

       U.S.D.C. S.D. Indiana-Indianapolis, Indiana

    8. Defendants (Check Defendants against whom Complaint is made):

             Cook Incorporated
             Cook Medical, LLC
             William Cook Europe APS


    9. Basis of Jurisdiction
            Diversity of Citizenship
               Other:
       a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

       PARAGRAPHS 6 THROUGH 28

       ________________________________________________________________________

       ________________________________________________________________________

       b. Other allegations of jurisdiction and venue:

       ________________________________________________________________________

       ________________________________________________________________________

       ________________________________________________________________________



    10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim
       (Check applicable Inferior Vena Cava Filters):
               Günther Tulip Vena Cava Filter
               Cook Celect Vena Cava Filter
           X Günther Tulip
               Cook Celect Platinum
               Other: ___________________________________________________________


                                                2
Case 1:14-ml-02570-RLY-TAB Document 22553-1 Filed 08/18/22 Page 3 of 6 PageID #:
                                  132921



    11. Date of implantation as to each product:

       04.03.2006

    12. Hospital(s) where Plaintiff was implanted (including City and State):

       IUH Methodist Hosp, Indianapolis, Indiana_____________________



    13. Implanting Physician(s):

       Sabah D Butty, MD, Indianapolis, Indiana_______________________

    14. Counts in the Master Complaint brought by Plaintiff(s):
            Count I:         Strict Products Liability - Failure to Warn
            Count II:        Strict Products Liability - Design Defect
            Count III:       Negligence
            Count IV:        Negligence Per Se
            Count V:         Breach of Express Warranty: See paragraph 15[c];
            Count VI:        Breach of Implied Warranty: See paragraph 15[c];
            Count VII:       Violations of Applicable Massachusetts Law Prohibiting
               Consumer Fraud and Unfair and Deceptive Trade Practices
            Count VIII:      Loss of Consortium
               Count IX:      Wrongful Death
               Count X:       Survival
            Count XI:        Punitive Damages
               Other:         __________________ (please state the facts supporting this Count
                              in the space, immediately below)
               Other:         __________________(please state the facts supporting this Count
                              in the space, immediately below)

       ________________________________________________________________________

       ________________________________________________________________________

       ________________________________________________________________________

       ________________________________________________________________________


                                                   3
Case 1:14-ml-02570-RLY-TAB Document 22553-1 Filed 08/18/22 Page 4 of 6 PageID #:
                                  132922



     15. ADDITIONAL INFORMATION:

      [a]  PLAINTIFF’S EARLIEST NOTICE OF INJURIES FROM HIS IVCF
 [ACCRUAL NOTICE OF HIS CAUSE OF ACTION]:

          In May 2014, Plaintiff saw Dr. C. Ammin, MD, Hematologist, complaining of right upper
 quadrant pain, and noted he was diagnosed with a pulmonary embolus post IVCF. He was continued on
 indefinite anticoagulation medications and follow up was recommended in 1 year.


          On 2.5.2016 [less than 10 years after insertion, but greater than 8 years], Plaintiff saw Dr. Amin,
 and L.Howard, PA-C with questions regarding his IVC filter that "was unable to be retrieved a few
 weeks after having been placed for surgery….”. The Dr noted that he recently saw TV commercials
 about a class action lawsuit noting the filters migrated and pieces broke off. The records noted that "
 [H]e is worried about his filter and gets short of breath when he walks up stairs and was wondering if the
 filter could be causing that. He recently underwent a treadmill stress test that was completely normal and
 says that this has occurred since his [filter] surgery several years ago.". The filter was unable to be
 retrieved and a CT scan in 2012 showed acute thrombus within IVC filter and propagating above it, with
 bilateral lower lobe pulmonary embolus. Mr. Cornett had no prior indications that his IVCF could be
 causing him any injuries or was defective until he developed shortness of breath, combined with
 abdominal pain combined with seeing the TV ads discussing problems with the IVCF. Dr. Amin
 reassured him that the filters were fine.

         Plaintiff suspected that his IVCF may be defective in Feb. 2016. He was having symptoms that
 he thought were related to his filter and sought out medical care. At that time he also contacted his
 attorney’s office to investigate whether his filter was defective and was causing him injuries His injuries
 were confirmed in Feb. 2018 when a Radiologist gave a second opinion that his filter had perforated his
 IVC, was clotted and was impinging on his bowel.

         [b] PLAINTIFF’S INJURIES FROM CORDIS’ IVCF:

          Plaintiff suffered from post insertion pulmonary embolus, filter clots, shortness of breath,
 right upper quadrant pain, 4 struts have perforated his IVC, right posterolateral tilt with apex of
 filter nearly in contact with the caval wall. Three [3] of 4 primary struts perforate the IVC wall
 with the anterior strut impinging on the overlying duodenum; and the filter was unable to be
 removed a few weeks post insertion.

      [c] EXPRESS AND IMPLIED WARRANTY CLAIMS MADE TO PLAINTIFF AND
 PLAINTIFF’S HEALTHCARE PROVIDERS

         Plaintiff was told by his implanting physician that the filter was necessary to prevent post
 operative pulmonary emboli [which he never had prior to surgery], that it was fine to be
 implanted long term but they would remove it a few weeks after his surgery. A few weeks post
 insertion, the filter was embedded and unable to be retrieved. His doctors told him again that the
 filter was “okay” and “fine” to remain in his body permanently. Based upon those
 representations, Plaintiff assumed that this filter was safe for long term, permanent implantation.

                                                      4
Case 1:14-ml-02570-RLY-TAB Document 22553-1 Filed 08/18/22 Page 5 of 6 PageID #:
                                  132923



          Cooks’ IFU for its Gunther Tulip filter to healthcare providers, from 2003-2008, which
 contain essentially the same information, noted that it was used for “permanent implantation”
 [2003 Gunther Tulip IFU, pg IVC 01199 ] and “may be retrieved” using the “Optional Filter
 Retrieval”[ 2003 Gunther Tulip IFU, pg IVC 01197-8], and was “… designed to act as
 permanent filters….” and “…may be retrieved….”. [Accessed at
 https://ifu.cookmedical.com/ifuPub/searchIfu.jsf on 08.17.2022 ].

         Cooks’ 2009 marketing brochure on the Gunther Tulip notes “[L]eave it or Retrieve it,
 but use the filter you can trust.” [see pg 1, accessed at https://cookmedical.com on 08.17.2022].

         Therefore Cook represented to healthcare providers, the FDA and consumers, that its
 Gunther Tulip was safe for long term implantation and was retrievable [which it was not in
 Plaintiff’s case].



    16. Attorney for Plaintiff:

        Elizabeth Dudley



    17. Address and bar information for Attorney for Plaintiff:

       Elizabeth Dudley, THE DUDLEY LAW FIRM, LLC, 23438 SW Pilot Point Rd,
 Douglass, Ks 67039; KS 21582

 Date:August 8, 2016

                                              Respectfully submitted,

                                              By: /s/Elizabeth Dudley
                                              Elizabeth Dudley (KS Bar No. 21582)
                                               (admitted pro hac vice)

                                              THE DUDLEY LAW FIRM, LLC,
                                              23438 SW Pilot Point Rd,
                                               Douglass, Ks 67039;
                                              316-746-3969
                                              316-746-3922 (fax)
                                              Liz@lizdudleylaw.com
                                              Attorney for Plaintiff




                                                 5
Case 1:14-ml-02570-RLY-TAB Document 22553-1 Filed 08/18/22 Page 6 of 6 PageID #:
                                  132924



                                  CERTIFICATE OF SERVICE


        I hereby certify that on August 18,2022, a copy of the foregoing was served electronically

 and notice of the service of this document will be sent to all parties by operation of the Court’s

 electronic filing system to the CM/ECF participants registered to receive service in this matter.

 Parties may access the filing through the Court’s system.



                                               / s/Elizabeth Dudley




                                                  6
